Case 2:20-cv-08336-SDW-LDW Document 11 Filed 08/24/20 Page 1 of 23 PagelD: 70

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

EUGENE MAZO,

Plaintiff,

VS.
Civil Action No.: 2:20-CV-08336

CHRISTOPHER DURKIM, in his official
capacity as Essex County Clerk,

E. JUNIOR MALDONADO, in his official
capacity as Hudson County Clerk,

JOANNE RAJOPPI, in her official capacity
as Union County Clerk,

TAHESHA WAY, in her official capacity
as New Jersey Secretary of State,

Defendants.

 

 

 

DEFENDANT, JOANNE RAJOPPI’S, BRIEF IN SUPPORT OF THE MOTION TO DISMISS
PLAINTIFF’S, EUGENE MAZO, COMPLAINT PURSUANT TO FED. R. CIV, P. 12(b)(6)

 

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PRELIMINARY STATEMENT

Plaintiff Eugene Mazo has filed a complaint which fails to state a claim upon which relief
may be granted and should be dismissed by the court pursuant to the Federal Rule of Civil
Procedure 12(b)(6). Even if all of the facts alleged in Plaintiffs’ complaint are to be accepted as
true, the claims themselves fail as a matter of law when alleged against Defendant, Union

County Clerk Joanne Rajoppi.

Plaintiff is a former candidate who lost the 2020 Congressional election for New Jersey’s
Tenth Congressional District, respectively. Plaintiff filed this action on July 7, 2020 against the
Secretary of State, Tahesha Way, and Union County Clerk, Joanne Rajoppi, along with several
other New Jersey County Clerks, seeking to overturn N.J.S_A 19749~2 §19-23-24, and 19:23-

26.1, also referred to as the New Jersey’s ballot bracketing laws.
STATEMENT OF FACTS

Plaintiff Eugene Mazo is a former candidate for the 2020 Democratic Party nomination
for the U.S. House of Representatives in New Jersey’s Tenth Congressional district. (PI.’s
Compl. at 1). Plaintiff was defeated in the Democratic Primary on July 7th, 2020. (See Exhibit
A, Primary Election Results). Plaintiff Eugene Mazo, on his petition of nomination for the New
Jersey primary election in Union County, chose not to bracket with any county or presidential
candidate and so, his name was placed in Column E. (See PI.’s Compl. at 47). Plaintiff Mazo

notes that his refusal to bracket with any other candidate was based on his “unique” political

 

* Courts may consider documents attached and referred to in the complaint, matters of public record, and authentic
documents, without triggering a conversion from a Rule 12(b)(6) motion to a Rule 56 summary judgment motion.
inve 2435 Plainfield Ave., 223 B.R. 440, 448 (Bankr, D.N_J. 1998).
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beliefs. (P1.’s Compl. at 45). Plaintiff contends that the way that the ballot was drawn, in regards

to bracketing, was unconstitutional. (P1.’s Compl. at 49).
LEGAL ARGUMENT
Standard For Dismissal

The Court may grant a motion to dismiss pursuant to Fed. R. Civ, P. 12(b)(6) when the
complaint fails “to state a claim upon which relief can be granted.”. Courts should grant a motion
to dismiss when the plaintiff has not pled facts sufficient to “state a claim to relief that is
plausible on its face”, Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). Although a
complaint does not require detailed factual allegations, it must establish grounds for relief that
are not merely speculative. Id. A complaint can be considered plausible on its face when a
plaintiff “pleads factual content that allows the court to draw reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Igbal, 556 U.S. 662, 678.

1. The Complaint Must be Dismissed Because Union County Clerk Joanne Rajoppi is an

Improperly Named Defendant

Plaintiff's principal contention is with Union County Clerk Rajoppi’s compliance with
the New Jersey ballot bracketing laws. (P1.’s Compl. at 45-46). Plaintiffs argue that by virtue of
Joanne Rajoppi’s position as Union County Clerk, she is responsible for the claims of
unconstitutionality Plaintiffs bring against the New Jersey Slogan Statutes. (Pl.’s Compl. at 46).
However, Rajoppi’s position as Union County Clerk does not require her to evaluate the
constitutional merit of the ballot bracketing laws. V..S_A /9:23-14. In fact, her position requires
her to fully comply with the bailot bracketing laws and, in doing so, performed no action directly
inducing Plaintiffs alleged constitutional rights violation. “The county clerk shall transmit

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[name of the candidate’s political party and designation certified by municipal clerk] to the
Election Law Enforcement Commission in the form and manner prescribed by the
commission...” Jd. “Certainly the duty of the Town Clerk is to print only what complies with the
law.” MacManus v. Allan, 2'N.1. Super, 557 (1949). It cannot be said that a valid claim exists
against the Union County Clerk, nor relief be granted to Plaintiffs by the Union County Clerk
because she does not hold the authority to enforce New Jersey election statutes. Rather, such
responsibility falls under the purview of the Secretary of State. NSA. 19:31-6a and N.IS.A
§2:16A-98. While the Union County Clerk is required to comply with New Jersey election
statutes, courts have found that it is within the bounds of discretion for a county clerk to bracket
party affiliated candidates together. “Nor is it an abuse of discretion for a county clerk fo accord
affiliated candidates a line of their own. ‘On the contrary he should [place them on a line of their
own] if that course is feasible and if in the context of the whole ballot it would afford all the
voters a clearer opportunity to find the candidates of their choice.’” Quaremba y. Allan, 67 N.J. |
(1975) and Richardson v. Caputo, 46 N.J. 3 (1965). In fact, courts have found that the County
Clerk must bracket candidates together if they agree to run on the same line. “[T]he county clerk
must ‘give effect on the ballot to a consensual arrangement whereby all of the candidates at a
given level agree to run on a line of their own for any given office with no other candidate.’”
Alaimo v. Burdge, 63 N.J. 330, 575 (1973). “[Flor the state candidates who affiliate with county
candidates may not be displaced from their position on the same line with their affiliated county
candidates.” Moskowitz v. Grogan, 101 N.J. 111, 116 (App.Div.1968). Therefore, by bracketing
the candidates for the Congressional Democratic Primary together, Union County Clerk Rajoppi

acted in accordance with an existing and otherwise lawful New Jersey statute.
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The Federal Rules of Civil Procedure require that plaintiffs drawing into question the
Constitutionality of a state statute serve the Attomey General. Fed R.Civ.P. 3.1. “It is better to
assure, through notice, that the Attorney General is able to determine whether to seek
intervention on the ground that the act or statute affects a public interest.” Jd. Accordingly, New
Jersey State Court Rules read that “[i]f the validity of a State constitutional provision or of a
statute, rule, regulation, executive order or franchise of this State is questioned in any action to
which the State or an agency or officer thereof is not a party, the party raising the question shall

give notice of the pendency of the action to the Attorney General.” &. 4:28-4.
If. The Complaint Must Be Dismissed Because Plaintiff Does Not Have Standing

Article INI of the United States Constitution allows federal courts to preside only over
ongoing cases and controversies. U.S. Const. art. II. Article TTI denies federal courts the power
to decide questions that cannot affect the rights of litigants in the case before them. Lewis v.

Continental Bank Corp., 494 U.S. 472, 474 (1990).

A. Plaintiff's Cause of Action is Moot

Plaintiff's unsuccessful bid to run for Congressional office m a different column than the
one Plaintiff was listed under, renders this cause of action moot. Considering the primary
election has already occurred, there cannot be said to be an existing case or controversy.
Plaintiffs plans to seek Congressional office in the future are merely speculative and insufficient
to secure the federal court’s jurisdiction over this case as Plaintiff is not currently a
Congressional candidate and does not suffer the harm stated in the complaint. (PI.’s Compl. at 8-
9). Under the “case or controversy requirement” in Article III, federal courts are barred from

issuing advisory opinions. U.S. Const. art. IIT § 2. “The ‘case or controversy’ requirement
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prohibits all advisory opinions, not just some advisory opinions and not just advisory opinions
that hold little interest to the parties or the public.” Fialka-Feldman v. Oakland University Board
of Trustees, 639 F.3d 711, 715 (2011). It cannot be said that a present case or controversy exists
simply because Plaintiff anticipates that existing, lawful New Jersey election statutes will work
against his political aspirations in the future. Therefore, this court lacks subject matter

jurisdiction and should dismiss this case pursuant to Fed. R. Civ. P. 12(6)(1).
B. Plaintiff’s Cause of Action Does Not Meet the Exception to the Standard for Mootness

Plaintiff argues that because of his plans to run in the 2022 primary or general election,
this issue is subject to the exception for mootness and is therefore “capable of repetition, yet
evading review”. Southern Pacific Terminal Co. v. Interstate Commerce Com., 219 U.S. 498
(1911). However, the doctrine applies only in exceptional circumstances when the plaintiff has
shown that “(1) the challenged action is in its duration teo short to be fully litigated prior to
cessation or expiration, and (2) there is a reasonable expectation that the same complaining party
will be subject to the same action again." Federal Elections Commission v. Wisconsin Right to

Life, Inc., 551 U.S. 449, 462 (1975).

Plaintiff, however, cannot meet the first element of this standard, Courts have ruled that a
challenged action is considered to be too short in duration when it cannot be fully reviewed
before its expiration. Spencer v. Kemna, 523 U.S.1, 18 (1997). It must be noted that the 2020
primary Congressional election cycle has passed and that the 2020 general election cycle is
currently taking place. (Exhibit B, Governor Murphy Executive Order). If, in the 2022
Congressional election cycle, Plaintiff chooses to run once again and the ballot drawing is not to

Plaintiffs satisfaction, he can file a summary action in federal or state court pursuant to
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Fed.R.Civ.P. 56 or R. 4:67, respectively. At that time, Plaintiff would be a bona fide
Congressional candidate and have standing to challenge the election statutes rather than the
current situation in which he is bringing litigation simply as someone who has run for
Congressional office in the past. Rather, Plaintiff has deliberately decided to bring this claim to
litigation two full years from the next election cycle instead of using an alternate means of
review, thereby stifling judicial economy. If Plaintiff seeks to address his issues with the New
Jersey ballot bracketing laws in order to be able to run in the next election, he should file a

summary action upon an unsatisfactory ballot drawing in the next Congressional race.

Plaintiffs cause of action also fails to meet the second prong of the exception to
mootness because it operates on the presumption that in the 2022 election, the primary ballot
drawing will not place Plaintiff in a category he considers satisfactory. It is speculative that
Plaintiff would reasonably encounter the same action, seeing as it is plausible that he would
choose to bracket with another candidate or even encounter a satisfactory ballot drawing in the

2022 Congressional election.
C. Plaintiff’s Cause of Action is Not Ripe For Judicial Review

In order to have standing, a plaintiff must allege “an injury in fact” that is “concrete and
particularized and actual or imminent, not conjectural or hypothetical.” Lujan v. Defenders of
Wildlife, 504 U.S. 555, 560 (1992), Here, Plaintiff is not asking for a Constitutional evaluation of
the New Jersey ballot bracketing laws in order to run in any current election. Rather, Plaintiff is
asking the court to evaluate the Constitutionality of the ballot bracketing laws now, in the event
that Plaintiff runs for congressional election and is placed in an unsatisfactory ballot bracket at

some point in the future.
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Courts are constitutionally barred from rendering advisory opinions and engaging in
hypothetical and abstract debates. Jd. The doctrine of ripeness aids in avoiding premature
adjudication. id. In deciding whether or not a claim is ripe for adjudication, courts employ a
two-prong test: (1) Is the claim fit for judicial decision in that it arises in a concrete factual
context and concerns a dispute that is likely to come to pass (2) What is the hardship to the

parties of withholding court consideration. Abbott Labs v. Gardner, 387 U.S. 136 (1967).

The first prong of this test has not been met as established by the facts stated in the
complaint. The pleadings state that if Plaintiff were to lose in the 2020 election, he would run for
Congressional office once again in 2022. (Pl.’s Compl. at 21). Plaintiff was defeated in his bid
for the 10" District Congressional seat, (Exhibit A, Primary Election Results). The next
Congressional election will take place in 2022. (2 U.S.C. §7). The facts and disputes that
Plaintiff argues requires judicial review have not yet occurred. Plaintiff, by statute, is required to
collect 200 signatures in order for his name to appear on a Congressional election ballot. W/ Rev
Stat § 19:23-8. Without having done so, Plaintiff does not have a claim fit for judicial decision as
there is no concrete factual context from which his claims arise. The continued existence of the
ballot bracketing laws has no effect on Plaintiff's conduct and will not harm Plaintiff unless and
until he collects enough signatures to be a legitimate Congressional candidate. Plaintiff does not
allege that he has been denied placement or even unsatisfactory placement on the Congressional
ballot for the 2022 election. Therefore, it cannot be said that there has been a tangible injury
suffered for which a remedy exists for this cause of action. Courts have found that in cases where
the primary conduct of the parties is unaffected by a regulation’s continued existence, the
challenge to the regulation was not ripe for judicial review. Production Credit Association v.

Farm Credit Admin., 846 F.2d 373 (6th Cir. 1988), Furthermore, courts have also deemed

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matters unfit for current resolution if it was shown that allowing the question posed arise in
“some more concrete and final form” would confer benefit on the deliberating court. Eagle-
Picher Industries, Inc. v. United States Environmental Protection Agency, 759 F.2d 905 (1985).
Plaintiff has not shown that he currently suffers harm due to the ballot bracketing laws but rather,
bases his cause of action on speculation that the outcome of a future ballot draw will be

unsatisfactory.

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CONCLUSION

For the reasons stated above, the Court should grant Defendant Union County Clerk
Joanne Rajoppi’s Motion to Disiniss for Failure to State a Claim for all of the Counts stated in

Plaintiffs’ complaint and dismiss Plaintiffs’ action.

Respectfully Submitted,

—

Moshood Muftau, Esq.
Second Deputy Counsel

Dated: ¥ - AY -)0

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Exhibit A
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New Jersey Elections Results

 

New Jersey ¥ US. Hause ~ District 10 Dem Primary

 

 

 

 

     

! 2020-07-07

* Indicates an uncontested race and will not be tabulated.

U.S. House - District 10 - Dem - Primary

Summary Results

 

 

297 of 551 Precincts Reporting - 53.9% Updated: Jul. 15, 2020 11:08 am EST
Party Name Voter Vote %

Dem = Payne Jr, Donald 4) & 56,327 89.34%

Hem Mazo, Eugene 4.066 645%

Dem = Alora, John 2652 421%

 

(i) Incumbent R Runoff @ Winner

 

 

 

 

 

 

 

 

 

 

County Results
Essex
171 of 295 Precincts Reporting - 57.97% Updated: jul, 15, 2020 11:08 am EST
Party Name Votes Vote %
Dem Payne jr, Donald (i) @ 34,798 89.95%
Dem Maza, Eugene 2,724 7.04%
Dem Flora, John 1,366 3.01%
fi}Incumbent Runoff & Winner
Hudson
57 of 132 Precincts Reporting - 43.18% Undated: Jul 15, 2020 18:08 ars EST
Party Name Votes Vote%
Dem = Payne Jr, Donald (5 @ $902 82.65%
Dem = Flora, John L151 3.61%
Dem Mazo, Eugene $27 FIA
ti) Incumbent & Runoff & Winner
Union
69 of 224 Precincts Reporting ~ 55.65% Updated: Jul. 15, 2620 11:08 am EST
Party Name Votes Yate %
Dem = Payne Je, Donald (7) @ 11,627 . 93.94%
Dem Mazo, Eugene 415 3.35%
Bem — Flora, John 335 2.71%
G)} Incumbent B Runoff Winner
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Exhibit B
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EXECUTIVE ORDER NO. 120

WHEREAS, in light of the dangers posed by COVID-19, I issued
Sxecutive Order No. 103 (2920) on March 9, 2020, the facts and
circumstances of which are adopted by reference herein, which
declared both a Public Health Emergency and State of Emergency;
and

WHERBAS, to further protect the health, safety, and welfare
of New Jersey residents by, among other things, reducing the rate
of community spread of COVID-19, I issued Executive Order No. 104
(2020} on March 16, 2020, the facts and circumstances of which are
also adopted by reference herein, which established statewide
social mitigation strategies for combatting COVID-19; and

WHEREAS, on March 21, 2020, E issued Executive Order No. 107
(2020), superseding Executive Order Wo. 104 (2020) and requiring
New Jersey residents to remain home or at their place of residence
subject to limited exceptions, cancelling social gatherings, and
limiting all restaurants and other dining establishments to
offering only food delivery and/or take-out services; and

WHEREAS, on April 7, 2026, I issued Executive Order No. 119
{2020), which declared that the Public Health Emergency declared
in Executive Order No. 103 (2020) continues to exist; and

WHEREAS, as of April 7, 2020, according to the World Health
Organization, there were more than 1,278,000 confirmed cases of
COVID-19 worldwide, with over 72,000 of those cases having
resulted in death; and

WHEREAS, as of April 7, 2020, according to the Centers for
Disease Control, there were more than 374,000 confirmed cases
of COVID-i9 in the United States, with over 12,000 of those
cases having resulted in death; and

WHEREAS, as of April 7, 2020, there were over 44,400
positive cases of COVID-19 in New Jersey, with at least 1,232

of those cases having resulted in death; and
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WHEREAS, on March 13, 2020, I issued Executive Order No. 105
(2020), which declared that certain elections set to take place in
March and April were postponed until May 12, 2020, because allowing
those elections to proceed as they were originally planned during
this unprecedented COVID-19 health crisis would create hardships
and health risks for voters, poll workers and candidates alike;
and

WHEREAS, pursuant to Executive Order No, 105 (2020), there
will be no polling places in the elections now scheduled for
May 12, 2020, and all registered voters will instead be receiving
vote~by-mail ballots; and

WHEREAS, pursuant to N.J.S.A, 19:21 and N.J.S.A. 19:23-40,
the primary elections for the November general election are
scheduled to be held on dune 2, 2620, the Tuesday after the first
Monday in June; and

WHEREAS, pursuant to N.J.S.A. 19:2-1, the primary elections
for delegates and alternates to the national conventions of
political parties are scheduled to be held on June 2, 2020, the
Tuesday after the first Monday in Jume; and

WHEREAS, preparations for the June primary elections begin in
earnest in April with, among other steps, the submission of the
certified list of suggested polling places pursuant to N.J.S.A,
19:8-2 and the mailing of vote-by-mail ballots for the June primary
elections pursuant to N.J.S.A. 19:63-3; and

WHEREAS, public heaith officials have predicted that the peak
of COVIN-19 cases in New Jersey will occur in April; and

WHEREAS, preparing for the June primary elections during the
potential height of the COVID-19 emergency will negatively impact

election officials’ preparation efforts; and
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WHEREAS, the COVID-19 emergency and its impact are likely to
extend for an as-yet-undetermined period of time beyond the
estimated peak; and

WHEREAS, the uncertain timeline of the COVID“19 emergency
makes it difficult for election officials and voters to properly
plan and prepare for and fully participate in the June primary
elections; and

WHEREAS, in recognition of the severity of and uncertainty

surrounding the COVID-19 emergency, the Democratic National

 

Convention has been postponed from July 13-16, 2020, to August 17-
20, 2020 - close in time to the Republican National Convention,
which is scheduled fer August 24-27, 2020; and

WHEREAS, both national party conventions are now being held
in August, which mitigates the need for the presidential primary
elections and the primary elections for delegates and aiternates
to the national conventions te be held in dene; and

WHEREAS, the June primary elections for the United States
Senate, the United States House of the Representatives, and the
25th Legislative District of the New Jersey Legislature, as weli
as upcoming county and municipal primary elections and county
committee elections, are not tied to national or state party
conventions, providing flexibility on when they can oceur; and

WHEREAS, the June primary elections do not implicate budget
deadlines, employment decisions, ox forms of government like
certain elections that were changed to exclusively vote-by~mail in
Executive Order Ne. 105 (2020), and therefore can be pastponed
without impacting federal, state, or local government functions;
and

WHEREAS, States generally have discretion to dictate the
time, manner, and place of elections in the absence of controlling

federal law; and
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WHEREAS, allowing the June primary elections to proceed as
they were originally planned during this unprecedented COVID-19
health crisis will create hardships and health risks for voters,
poll workers, and candidates alike; and

WHEREAS, election officials require flexibility and
sufficient lead time to adapt the State’s voting infrastructure to
confront the magnitude of the public health and safety risks of
the COVID-19 pandemic; and

WHEREAS, social distancing measures are required for a period
of as-yet-undetermined duration, and the COVID-19 outbreak may
have significant effects on New Jersey's voting systems as iong as
social distancing measures are in place and for some time
thereafter; and

WHEREAS, the full participation of voters and candidates is
critical to a robust democracy; and

WHEREAS, failing to take proactive actions to mitigate the
adverse impacts of the current health crisis on the upcoming
primary and other scheduled elections carries the risk of
disenfranchising countless citizens; and

WHEREAS, expecting voters to report to public polling
locations to vote in June in the midst of the COVID-19 crisis will
hinder public participation in the democratic process,
particularly among elderly and immune-compromised voters, and
undermine the legislative intent of provisions like N.d.8.A.
49:82 and 19:8-3.1, which are designed to ensure that such voters
can exercise their right to vote; and

WHERBAS, postponing the June primary elections will give
New Jersey election officials enough time to take the necessary
steps to address the negative impacts of the present heaith crisis
on the upcoming primary elections, allowing voters to exercise

their constitutional franchise without jeopardizing their health
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and safety, and increase the likelihood that the elections will
include in~person voting; and

WHEREAS, in Jlieuw of a primary election, Independent
candidates must submit petitions for direct nomination for the
November general election, N.J.S.A. 19:13-3 through -9; and

WHEREAS, pursuant to N.J,S.A. 19:13-9, petitions for direct
nomination for the November general election are due by 4:00 p.m.
on the day of the primary election for the general election, which
currently is dune 2, 2020; and

WHEREAS, to ensure that Independent candidates are not
disadvantaged relative to political party candidates, postponing
the June primary elections should also result in the postponement
of the deadline for petitions for direct nomination for the general
election; and

WHEREAS, to limit unnecessary person-to-person contact during
the COVID-19 emergency, Executive Order No.. 105 (2020) also
required the electronic collection and submission of political
party candidate and delegate petitions through an online form
created by the Secretary of State; and

WHEREAS, allowing Independent candidates to submit their
petitions electronically, in addition to hand delivery, wiil help
limit unnecessary person-to-person contact: and

WHEREAS, allowing voters to fill out and submit petitions
electronically, so that candidates and campaigns need not
physically gather petitions by going to individual voters in
person, will help limit unnecessary person-to-person contact; and

WHEREAS, New Jersey citizens are presently faced with the
choice of exercising their constitutional franchise, or

endangering their health and safety; and
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WHEREAS, the Constitution and statutes of the State of
New Jersey, particularily the provisions of N.J.S.A. 26:13-i1
et seq., N.d.S,A. App. A: 9-33 et seq., N.J.S.A. 38A:3-6.1, and
W.d0.S.A. 38A:2-4 and all amendments and supplements thereto,
confer upon the Governor of the State of New Jersey certain
emergency powers, which I have invoked;

NOW, THEREFORE, I, PHILIP D. MURPHY, Governor of the State of
New Jersey, by virtue of the authority vested in me by the
Constitution and by the Statutes of this State, do hereby ORDER
and DIRECT:

1, The federal and State primary elections scheduled for
June 2, 2020, shall be postponed and rescheduled for Tuesday,
July 7, 2020.

2. Any other election scheduled for a date on or between
May 13, 2020, and July 7, 2020, shall be postponed and rescheduled
for Tuesday, July 7, 2020,

3. With the primary elections being postponed and
rescheduled for July 7, 2020, all deadlines for meeting statutory
requirements for a primary election shall be calculated using the
July 7, 2020 primary election date, except for any deadlines that
eccur prior to April 11, 2020 when calculated using the dune 2,
2020 date, including but net limited to the filing deadline for
candidate petitions for the primary election. Notwithstanding the
preceding sentence, the party affiliation deadline under N.J.S5.A.
19:23-45 shail be calculated based on the July 7, 2920 primary
election date,

4. Petitions for direct nomination for the generai election
filed under N.J.S.A. 19:13-3 through -9 shali be due by 4:00 p.m.

on July 7, 2020.
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5. The electronic signature and submission requirements
that are set forth in Paragraphs 1, 2, 3, 4, and § of Executive
Order No. 165 (2020) shall be extended to the petitions for direct
nomination for the general election filed under N.J.S.A. 19:13<3
through -9 that are due by 4:00 p.m. on July 7, 29020.

a, This Order shall take effect immediately.

GIVEN, under my hand and seal this
eth day of April,
Two Thousand and Twenty, and of
the Independence of the United
States, the Twe Hundred and
Forty—-Fourth.
[seal] /s/ Philip BD. Murphy

Governor

Aktest:
/s/ Matthew J, Platkin

Chief Counsel to the Governor
